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NO'I` FOR PUBLICATION

UNITED S'I`ATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

civil nation No. 15-7658 (MAs) (LHG)
IN RE vALEANT PHARMACEUTICALS

INTERNATIONAL, INC. SECURITIES MEMORANDUM OPINION
LITIGATION

 

 

Shipp, District Judge

This matter comes before the Court on PlaintiffTirnher Hill LLC’s (“Timber Hill”) l\/lotion
for Relief from Consolidation Order. (ECF No. 322.) Lead Plaintiff Teachers Insurance and
Annuity Association of America (“TIAA”) and named Plaintiff Tucson Supplemental Retirement
Systern (“Tucson”) (collectively, “Lead Plaintiff”) opposed. (ECF No. 323.) Det`endants Valeant
Pharrnaceuticals International, Inc. (“Valeant”), Robert L. Rosiello, and Ari S. Kellen responded
to the Motion, and Defendants J. Michael Pearson, Howard B. Schiller, Tanya Carro, and Deborah
Jorn (collectively, “Defendants”) joined in the response (ECF No. 324.) Timber Hill replied (ECF
No. 325), and Lead Plaintiff sought leave to tile a Sur~Reply and filed the Sur-Reply (ECF
No. 329). The Court has carefully considered the parties’ arguments and decides the matter
without oral argument pursuant to Local Civil Rule 78.1. F or the reasons stated herein, the Court
denies Timber Hill’s Motion for Relief. The Court, accordingly, also denies Tiniber Hill’s Motion
for Appointment as Lead Plaintiff (ECF No. 334) and Lead Plaintit`f`s Motion to Strike (ECF No.
335) as moot.
I. Background

On June 6, 2018, Tirnber Hill filed a two~count putative class action Complaint against
Defendants alleging violations of Sectionsl()(b) and 20(3) of the Securities Exchange Act of 1934

(the “1934 Act”). (Timber Hi'fl LLC v. Valeanf Pharm. 1th `l., Inc., No. 18-10246 (D.N.J.), Compl.

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1111 449-462, ECF No. l (“Timber Hill Complaint”).) Pursuant to Federal Rule of Civil Procedure
23, Timber Hill seeks to represent a class of “all persons or entities that purchased call options on
Valeant common stock and/or sold put options on Valeant common stock during the Class Period,
and were damaged therel')y.”l (Id. at 11 444.) Upon filing the complaint, Timber Hill joined 29
other actions filed in this Court against Defendants and other persons and entities, alleging similar
violations of the 1934 Act, and other causes of action. (See Case l\/Ianagement Order No. 1, ECF
No. 369 (noting that “30 individual suits have been filed in this Court involving similar issues of
law and alleged facts.”).)

On June 8, 2018, Lead Plaintift` notified the Court of the filing of Timber Hill’s Complaint
and requested that the Court consolidate the Timber Hill matter into this consolidated class action.
(See June 8, 2018 Correspondence, ECF No. 317.) Lead Plaintiff"s request was made pursuant to
the Court’s May 31, 2016 Order consolidating multiple actions into this action and appointing
TIAA as Lead Plaintiff pursuant to 15 U.S.C. § 78u-4(a)(3)(]3). (Order Consolidating the Related
Actions, ECF No. 67.) The Court’s Order directed that “[a]ll securities class actions subsequently
filed in, or transferred to this District shall be consolidated into this action,” and applied to “every
such action, absent an order of` the Court.” (Id. at l.) Pursuant to the Order, any party who objected
“to such consolidation, or to any other provision of this Order, must file an application for relief
from [the] Order within ten days after the date on which a copy of [the] Order is mailed to the
party’s counsel.” (Id. at 1~2.)

On June 18, 2018, Timber Hill timely Sought relief from the Consolidation Order. (Mot.
for Relief, ECF No. 322.) Lead Plaintif`f opposed on July 2, 2018. (Pls.’ Opp’n, ECF No. 323.)

Defendants filed a response on the same day. (Def`s.’ Response, ECF No. 324.) Timber Hill

 

l The Class Period is from January 47 2013 through August ll, 2016. (Tirnber Hill Compl. at l.)

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replied on July 9, 2019. (Pl.’s Reply, ECF No. 325.) Lead Plaintiff sought leave to file a Sur-Reply
and filed a Sur-Reply on July 13, 2018.2 (ECF No. 329.)
II. Legal Standard

Federal Rule of Civil Procedure 42 provides that “[i]f actions before the court involve a
common question of law or fact, the court may; (l) join for hearing or trial any or all matters at
issue in the actions; (2) consolidate the actions; or (3) issue any other orders to avoid unnecessary
cost or delay.” Fed. R. Civ. P. 42. The Private Securitics Litigation Reforrn Act (“PSLRA”)
requires district courts to consider any motions to consolidate for pretrial purposes or for trial,
prior to appointing a “lead plaintiff” where “more than one action on behalf of a class asserting
Substantially the same claim or claims arising under” the 1934 Act. 15 U.S.C. §78u-4(a)(3)(b)(ii).
Consolidation “does not merge the suits into a single cause or change the rights of the parties, or
make those Who are parties in one suit parties in another.” fn re Cmt_v. Bank of N. Va., 418 F.3d
277, 298 n.12 (3d Cir. 2005) (citations and internal quotations marks omitted). The purpose of
consolidation is “to provide for judicial efficiency by streamlining pretrial proceedings, minimize
duplication of effort7 and avoid conflicting outcomes in cases involving similar legal and factual
issues.” Hasher v. Corzine, No. 07-1212, 2008 WL 113386?1, at *2 (D,N.J. June 4, 2008) (citation
omitted). The district court has broad powers, pursuant to Rule 42, if in the court’s discretion

“consolidation would facilitate the administration of justice.” Liberry Lincoln Mercwj), Inc. v.

 

2 The Court hereby grants Lead Plaintiff’ s request for leave to file a Sur-Reply and Will consider
the arguments made therein.

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Fom' Mktg., 149 F.R.D. 65, 80 (D.N.J. 1993) (quoting Waste Distil]arion Tech., Inc. v. Prm Am.
Res., Inc., 775 F. Supp. 759, 761 (D. Del. 1991)).

When deciding whether to consolidate actions under Rule 42, the court must balance the
“risks of prejudice and possible confusion” with “the risk of inconsistent adjudications of common
factual and legal issues, the burden on [the] parties [and] witnesses[,] . . . the length of time required
to conclude multiple suits as against a single one, and the relative expense to all concerned [for]
the single trial [and] multiple trial altematives.” In re Consol. Parloa'el sz‘ig., 182 F.R.D. 441,
444 (D.N.J. 1998) (citations omitted). When considering whether to grant relief from a previous
consolidation order, the court considers the same issues it would consider if presented With a
motion to consolidate See fn re Lucenr Techs. Inc. Sec. Lz'fig. , 221 F. Supp. 2d 472, 480-82 (D.N.J.
2001). The court’s inquiry into the facts and circumstances of the case and the decision on
consolidation is “highly contextual.” fn re Cenr. Europecm D:`srrz'b. Corp. Secs. Litig., No. 11-
6247, 2012 WL 5465799, at *7 (D.N.J. Nov. 8, 2012) (quoting Wright & Miller, Consolidation-
Discretion of Court, 9A Fed. Prac. & Proc. Civ. § 23 83 (3d ed.)).
III. The Parties’ Positions

Timber Hill objects to consolidation of its action with this matter because “plaintiffs in
[this action] have not sought to represent and protect the interests of investors who” Timber Hill
would like to represent. (Pl.’s Moving Br. l, ECF No. 322-1.) Timber Hill seeks to represent
“persons and entities that purchased call options on [Valeant] common stock and/or sold put
options on Valeant common stock during the period January 4, 2013 through August ll, 2016
[(“derivatives traders”)]. . . .” (Timber Hill Compl. at 1.) Timber Hill asserts that Lead Plaintiff
and its counsel will “not protect the interests of derivatich traders due to potentially conflicting

positions regarding among other things, the allocation of any recovery.” (Pl.’s Moving Br. at 3.)

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As an example of the potentially conflicting positions, Timber Hill argues that calculation
of the derivatives traders’ damages “will likely require different experts using different
methodologies than those employed by the” Lead Plaintiffs. (Ia’.) Timber Hill also asserts that the
derivatives traders will seek to recover from “the common set of defendants as the purchasers of
Valeant equity securities and senior notes, and ‘a single lead plaintiff Will be unable to have
undivided loyalties to vigorously pursue recovery on behalf of both classes due to the inherent
conflict that is caused by the competition for the same limited funds for recovery.” (Ia'. at 4 (citing
Frz`eciman v. Quest Energy Parrners LP, 261 F.R.D. 607, 61 l (W.D. Okla. 2009)).)

lnstead of consolidation, Timber Hill argues that coordination is proper. (Id. at 5.) Timber
Hill cites to the proceedings in Basile in Pershing Square, No. 14~02004 (C.D. Cal.) (“Basi[e”) in
support of this proposition (Ia’. at 4.) Timber Hill notes that the Basz'le defendants “opposed
plaintiffs’ motion for class certification on the ground that common stock plaintiffs had failed to
join necessary parties, namely, derivatives traders.” (Id.) Timber Hill also highlights that the
Basz`le court ordered a hearing on the issue of consolidation, ultimately decided to maintain two
separate trial dates_one trial for the common stock plaintiffs and one trial for the derivatives
traders_and ordered that the parties coordinate discovery, but did not consolidate the cases. (Ia'.)

TIAA advances four arguments in opposition to Timber Hill’s motion: (i) consolidation is
proper because Timber Hill’s claims are “nearly identical to TIAA and Tuscon’s, raising the same
issues of fact and law,” (ii) the current putative class “includes purchasers of all ‘Valeant equity
securities”’ and includes the derivatives traders Timber Hill seeks to represent, (iii) Timber Hill is
inappropriater seeking to avoid the consequences of missing the deadline for being appointed to
lead the class, and (iv) TIAA adequately represents the entire class which includes the class Timber

Hill seeks to represent (See generally TIAA’s Opp’n, ECF No. 323.) On the first point, TIAA

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argues that Timber Hill has acknowledged that “the issues presented in the two actions overlap,”
and that Timber Hill’s complaint “largely reproduce[es]" TIAA and Tuscon’S Consolidated
Complaint with Timber Hill’s complaint copying “approxirnately 170 paragraphs of` the
Consolidated Complaint almost verbatim."3 (Ia’. at 5-6.)

Next, TIAA asserts that the current class of “purchasers of all ‘Valeant equity securities”’
includes the putative class of derivatives traders (Id. at 9.) TIAA cites to the definition of a
“security” in the 1934 Act which states that a security is defined as "any note, stock, treasury stock,
security future, security-based swap, bond, debenture, . . . [and] any put, call, straddle option or
privilege . . . .” (Id. (quoting 15 U.S.C. §78c(a)(10)).) TlAA also asserts that courts routinely
reject attempts to multiply litigation or carve out separate classes for “niche plaintiffs.” (See id. at
10-14.) Per TIAA, moreover, the overlap between the class periods reflects the duplicative natures
of the actions and supports maintaining consolidationl (Id. at 16.)

TIAA’s third argument is that Timber Hill is inappropriately attempting to avoid the
PSLRA’s lead plaintiff notice requirements by carving out a subclass TIAA’S position is that the
proper notice was issued two years ago, received a considerable response, and that Timber Hill
cannot avoid the Consequences of missing the deadline by “seeking to represent a portion of the
class.” (Id. at 18-19.) Notably, to TIAA, one of the firms that responded, “specifically sought to
represent derivatives traders, but subsequently withdrew in light of TIAA’s larger losses.” (Ia’.)
TIAA further argues that TIAA’s losses of 890 million, including 81 million in losses from options

investments, is larger than Timber Hill’s asserted losses. (l'a’. at 19.) Accordingly, even if Timber

 

3 On June 24, 2016, Lead Plaintiff filed a Consolidated Complaint (See Consolidated Compl.,
ECF No. 80.) On September 20, 2018, Lead Plaintiff filed an Amended Complaint. (First Arn.

Compl., ECF No. 352 (“FAC”).) The putative class definition is the same in both. (Compare
Consol. Compl. 11 1 with FAC 1[ l.)

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Hill had moved during the lead plaintiff notice period, Timber Hill would not have been appointed
as lead plaintiff because the PSLRA creates a rebuttable presumption that the plaintiff With the
“largest financial interests in the relief sought by the class” is “the most adequate plaintiff.” (Id at
19-20.) TIAA also argues that Timber Hill’s Complaint shows “an apparent gain of $2,896,037.”
(Id. at 19.)

TIAA’s final argument is that TIAA is adequate to represent the entire class which includes
the class Timber Hill seeks to represent (Ia'. at 20.) TIAA argues that TIAA’s interests are aligned
With the derivatives traders because TIAA suffered losses of approximately $l million related to
derivative trading. (]d. at 21.) TIAA rejects the notion of an interclass conflict and argues that
“[d]ifferences in the class period do not represent a class conflict when the complaints’ allegations,
as here, involve the same facts and law.” (Id. at 23~24.) Finally, TIAA argues that any differences
in damages between the derivatives traders and the class the Lead Plaintiff represents, “do not
undermine consolidation because they are not a barrier to class certification.” ([d. at 24.)

Timber Hill responds to TIAA’s arguments by asserting that TIAA’s position stands and
falls on the premise that Timber Hill’s proposed class of derivatives traders is encompassed by the
class definition in TIAA’s Consolidated Complaint. Timber Hill argues that TIAA has ignored an
operative term_“equity”_in the class definition and TIAA’s citation to the 1934 Act’s definition
of security is misplaced (Timber Hill’s Reply 4, ECF No. 325.) Timber Hill asserts that the 1934
Act and Third Circuit case law use the term “equity securities” and “derivative securities” to
differentiate from “securities.” (Id. (citing Morrz'son v. Madison Dearborn Cap. Partners IH, L.P.,
463 F.3d 312, 314-15 (3d Cir. 2006).) Timber Hill points out that TIAA’s sworn certification to
the Consolidated Complaint does not include any transaction in derivative securities (Ia'. at 5.)

Moreover, Defendants have asserted that they did not understand TIAA to "`represent traders in

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options.”4 (Ia’.) Timber Hill also cites to TIAA’s PSLRA Notice that announced a class action on
behalf of “purchasers of Valeant Pharmaceuticals lnternational.” (Ia’. at 6.) Finally, Timber Hill
asserts that TIAA purports to represent only “a class of purchasers, while Timber Hill’s class
definition includes sellers of put options.” (Id. (emphasis ornitted).) This leads to the conclusions
that (i) Lead Plaintiff does not, and never did, represent the sellers Timber Hill seeks to represent
or (ii) Lead Plaintiff “has elected not to pursue claims on behalf of put option sellers.” (Id.)

Timber Hill argues that the remainder of TIAA’s arguments fail because of the faulty
premise regarding the class definition (Id. at 7-9.) Timber Hill’s final argument is that failure to
provide relief would result in prejudice to the putative class of derivatives traders and “Would have
the purpose and effect of depriving these derivatives class members of their due process rights.”
(Id. at 9.) Citing to the numerous opt-out actions and ongoing government actions, Timber I-Iill
argues that there will “be no great burden on the parties should the actions maintain separate
identities.” (Id.)

TlAA’s Sur-Reply addresses (l) Timber Hill’s argument that TIAA will not represent the
entire class, and (2) Timber Hill’s assertion that the “terrn equity security” does not include put
and call options. On the first point, TIAA argues that TIAA has indicated that it will “prosecute
all claims on behalf of options traders.” (Pl.’s Sur-Reply l, ECF No. 329-1.) TIAA also argues
that any criticism of the proposed class definition is premature because “at class certification
TIAA can expressly define the class to include the very investors Timber Hill” seeks to represent

(Id. at 2.) On the second point, TIAA points to the 1934 Act’s definition of an “equity security,”

 

4 Defendants’ response to Timber Hill’s Motion states that Lead Plaintiff`s proposed class “does
not encompass” the proposed class of derivative traders. (Defendant’s Resp. l, ECF No. 324.)

Defendants, however, do not view this as an obstacle to consolidation of the Timber Hill matter.
(Ia’.)

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which includes “‘any other security’ the [Securities Exchange Commission (“SEC”)] deems by
‘rules and regulations . . . to treat as an equity security.”’ (la'. at 3 (quoting 15 U.S.C. § 78c(l l).)
SEC regulations define an equity security as, among other things, “any put, call7 straddle, or other
option or privilege of buying such a security from or selling such a security to another without

being bound to do so.” (Ia'. at 2-3 (quoting 17 C.F.R. 240.3a1 1-1).)

IV. Analysis

Timber Hill has not sufficiently established that the prejudice, if any, that would result
from consolidation is not outweighed by the efficiencies and cost savings of consolidation Indeed,
much of the prejudice Timber Hill alleges are future ills that may be resolved as this litigation
progresses Ultimately, there may be Some merit to Timber Hill’s concerns, but, as discussed
below, they are not properly before the Court at this time

The Court’s analysis begins with an appraisal of the context of Timber Hill’s Motion. In
late 2015, Lead Plaintiff and Lead Counsel worked with other plaintiffs and counsel to be
appointed as such pursuant to the PSLRA’s requirements l\/lultiple motions to dismiss have been
briefed and decided ln addition to this class-action, there are currently twenty-nine individual
opt-out actions. (See Case Management Order l, ECF No. 369.) Most recently, Magistrate Judge
Lois H. Goodman entered a Case Management Order confirming the consolidation of these matters
“for pretrial purposes.” (Id.) This will include a lengthy period of fact and expert discovery, and
then motion practice for class certification and summary judgment Once this pretrial period is
concluded, if necessary, the Court and the parties will consider how best to proceed to trial. ln
short, the parties are currently on the precipice of what will surely be a lengthy and resource

intensive period of actively litigating this matter.

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A. The Putative Class Definition

The Court next addresses the primary point of disagreement between the parties.5 The
Court’s view, at this juncture is that the Lead Plaintiff’s putative class definition-_“purchasers of
Valeant equity securities and senior notes between January 4, 2013 and l\/larch 15, 2016”_
encompasses a portion of the class Timber Hill seeks to represent (FAC at l.) The 1934 Act’s
definition of an “equity Security” is broad enough to encompass the derivatives at issue here
because the definition includes “any other security which the Commission shall deem to be of
similar nature and consider necessary or appropriate by such rules and regulations as it may
prescribe in the public interest or for the protection of investors, to treat as an equity security.” 15
U.S.C. § 78c(a)(11). By regulation the SEC has further expanded the definition of an “equity
security” to include “any put, call, straddle, or other option or privilege of buying such a security
from or selling such a security to another without being bound to do so.” 17' C.F.R. 240.3a1 1-1.

Timber Hill’s blanket citations to (i) unspecified sections of the 1934 Act and (ii) Morrison
v. Mcrdison, 463 F.3d 312 (3d. Cir. 2006) are unpersuasive Morrison discusses a definition of a
“derivative security” that is limited to Section 16 of the 1934 Act as opposed to the broadly
applicable definition of an ‘“equity security” to which Lead Plaintiff cites. 463 F.3d at 316. Given

the statutory language and Timber Hill’s own definition of an equity security,6 Timber Hill has

 

5 There is no legitimate dispute as to whether the Timber Hill matter and this matter include
common questions of law or fact Timber Hill appears to concede this point when it “recognizes
that the issues presented in the two actions overlap.” (Pl.’s l\/[oving Br. at 5.) lndeed, as Lead
Plaintiff points out, many sections of Timber Hill’s complaint appear to be taken nearly verbatim
from the Consolidated Complaint Given the common questions of law and fact, the Timber Hill
matter is ripe for consolidation See Fed. R. Civ. P. 42.

6 Timber Hill defines a call option as “a contract between a seller . . . and a purchaser . . . , under
which the option purchaser has the right, but not the obligation to exercise the option and thereby
purchase the underlying security at an agreed-upon price . . . from the seller by a pre-set expiration
date,” and a put option as “a contract between a seller . . . and a purchaser . . . , under which the
put option purchaser has the right, but not the obligation to exercise the option and thereby sell

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not sufficiently demonstrated that the current putative class definition excludes the derivatives
traders who were purchasers of options.

The Court’s view, at this juncture is that the Lead Plaintiff’s putative class definition is
limited to “purchasers of Valeant equities securities.” This modifier, on its face, excludes the
portion of Timber Hill’s proposed class that encompasses sellers of Valeant derivatives7 This
fact, however, does not require the Court to grant Timber Hill relief from consolidation because
the Lead Plaintiff" s putative class definition is, at this juncture exactly as described_putative. As
Timber Hill correctly points out, TIAA’s operative class definition has changed from its PSLRA
Notice to the current definition (Compare Pl.’s Reply Decl. of Samuel H. Rudman Ex. A., ECF
No. 22-3 (incorporating TlAA’s PSLRA Lead Plaintiff notice in which TIAA seeks to represent
“all purchasers of Valeant Stock during the Class period”) with FAC at 1 (identifying a class of
“purchasers of Valeant equity securities and senior notes”).) What Timber Hill fails to
acknowledge is that the class definition has, in fact, expanded and may expand again Such an
expansion could cure the prejudice Timber Hill currently alleges.

Timber Hill may be correct, and Defendants may oppose class certification on grounds that
relate to the class excluding certain derivatives traders. Given that Timber Hill has raised this
issue now, Timber Hill’s motion has the salutary effect of putting the Lead Plaintiff and the Court

on notice that this issue may arise in the future The Lead Plaintiff is empowered to make decisions

 

the underlying security at an agreed-upon price,” (See Timber Hill Compl. 1111 16-17.) These
definitions align with the SEC’s definition of an equity security. See 17 C.F.R. 240.3a11-1.

7 Lead Plaintiff’s putative class definition of course, also excludes those derivative traders, both
buyers and sellers, who traded the day after the end date of the Lead Plaintiff’ s class period through
the end date of Timber Hill’s putative class period_l\/larch 16, 2016 through August l l, 2016.

Like the class definition Lead Plaintiffmay, or may not, adjust the class period to encompass these
dates.

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that may impact the rights of derivatives traders in the class. The class certification process,
however, ensures that those rights are protected Moreo\'er, a failure to protect the rights of
derivatives traders will likely impact this litigation at later stages The Court will be able to better
evaluate the impact of the putative class definition on derivatives traders When the Lead Plaintiff
moves for class certification

B. Consolidation for Discovery

Timber Hill has not sufficiently established how consolidation for pretrial purposes will
prejudice it as the factual record is developed throughout the upcoming discovery period8 Given
the common facts at issue in the matters, and in the absence of Timber Hill arguing that unique
discovery is required for its proposed class, the Court concludes that there are significant
efficiencies and cost savings for the parties if Timber Hill remains consolidated Moreover, given
the broad scope of discovery allowable under Rule 26, there is no reason for the Court to conclude
that discovery will not and cannot encompass discovery relative to the derivatives traders. Given
the Lead Plaintiff‘s representations about the putative class definition and the alignment with the
interests of certain derivatives traders, discussed more fully below, the Court’s view is that the
derivatives traders’ interests will be protected during the pretrial period

C. Pursm`t of the Derivatives Traders ’ Claims

Timber Hill asserts TIAA will extinguish some of the derivatives traders’ claims. Given
the evolving nature of the class definition this potential prejudice is speculative at this point in the
litigation l\/loreover, TIAA has identified that TIAA has suffered “approximately $l million from

its transactions in options securities.” (Lead Pl.’s l\/loving Br. at 21.) lt is counterintuitive to

 

8 The Court acknowledges that perhaps the record unclear as to whether this matter was
consolidated for all purposes, including trial, or a more limited purpose The recent Case
Management Order (ECF No. 369) clarifies that consolidation currently, is for pretrial purposes.

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assume that TIAA will not pursue relief for those alleged damages especially when the current
putative class definition encompasses the damages suffered by purchasers of options See fn re
Cendanr Corp. Li'rig., 182 F.R.D. 144, 148 (D.N.J. 1998) ("It is unrealistic to assume that [Lead
Plaintiffs] would not travel every avenue that could potentially enhance their potential recovery.”).
Moreover, if those damages are as significant as Timber Hill represents, there is a great incentive
for TIAA to pursue those damages and the self-interest of the Lead Plaintiffs will ensure the
derivatives traders are adequately represented Id. (“[S_lelf-interest of the presumptive lead
plaintiffs will ensure adequacy of representation for all the class”).

TIAA states it will “prosecute all claims on behalf of options traders.” (Lead Pl.’s
Sur-Reply 1, ECF No. 329-l.) Timber Hill’s citations to In re New Oriental Education &
Technicaf Group Securiti'es Lirigation (“In re New Orientct[”) to rebut TlAA’s representation iS
not persuasive because the actions of the parties in that case are materially different from this
matter. See fn re New Oriental Educ.& Tech. Grp. Secs. Lirig,. 293 F.R.D. 483, 487-88 (S.D.N.Y.
2013). In that case, the lead plaintiff indicated it would not “prosecute the claims of the options
class,” and the lead plaintiffs “ambiguous litigation position” that “it may at some point in the
future amend the consolidated class action complaint,” was untenable given the lead plaintiffs
previous reversal regarding the inclusion of options traders in the putative class definition Id.
Specifically, the party seeking severance of the options class, Tardio, alleged that he agreed to a
stipulation of consolidation with the understanding that the class definition would encompass
purchasers and sellers of options Id. at 485. The lead plaintiff changed course and represented to
the court that lead plaintiff would not prosecute claims on behalf of the option traders Ia’. at 486.

Tardio also participated in the litigation from the very beginning Id. at 484.

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In the instant matter, consolidation will not foreclose claims that Timber Hill sought to
bring prior to the entry of the consolidation order because Timber Hill filed their Complaint over
two years after the entry of the Consolidation Order. Moreover, unlike the lead plaintiff la re New
Orz'enml, Lead Plaintiff’s representations and actions regarding the derivatives traders have not
alternated between inclusion and exclusion of the derivatives traders in the class

D. Compering Classes

Contrary to Timber Hill’s assertion this is not a case that requires separate lead plaintiffs
because of competing classes attempting to recover from a common set of defendants Timber
Hill cites to Frr`ea'man v, Quesf Energy Parrners LP to argue otherwise ln Friea’man, one class
represented purchasers of stock in a parent corporation and the other class represented purchasers
of “partnership units” (“PUs”) of a subsidiary Frz'ealman v. Quesr Energy Partners LP, 261 F.R.D.
607, 609 (W.D. Okla. 2009). The class representing the purchasers of the PUs sought to recover
from the subsidiary, the subsidiary’s general partner, the parent corporation and individual
defendants The class representing the purchaser of stock in the corporation only sought to recover
from the parent corporation and individual defendants Ia’. at 610. Critically, the Friedman court’s
decision to appoint two lead plaintiffs was not solely based on the fact that the classes were
competing for recovery from overlapping defendants The court found that the “nature of the
claims asserted by the two classes [were] materially different.” Id. at 611. The court also found
that the relief sought by one class, rescission would “significantly diminish[]” the recovery
available to one class while rescission would also maximize recovery for the other class Id.

ln the instant matter, the putative class of derivate traders and the Lead Plaintiff"s putative
class have stated similar claims and any recovery available to one group does not necessarily

diminish the recovery available to the other. ln Friedman, recovery by the class seeking recession

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would have necessarily decreased the size of the proverbial “pie” available to the other class Here,
the classes would be competing for the same pie.

E. Risks Presenred at Trial

The Court is aware that if these matters go to trial there is a risk of inconsistent
adjudications and additional expense and burden on the parties lf the parties’ arguments and the
court’s views in Basr'le are instructive multiple trials, or at least bifurcated trials, may be required
no matter how the Court decides the instant motion More to the point, if Timber Hill and a class
of certain derivatives traders are inevitably going to find themselves at odds with the current
putative class and will do so no matter how discovery proceeds then consolidation for pretrial
purposes is more efficient for all involved Looking to the future if this matter goes to trial and it
becomes clear that multiple or bifurcated trials are necessary, the plaintiffs will get multiple bites
at the apple and Defendants will face potential prejudice hardship, and expense These issues,
however, are not squarely before the Court because consolidation at this point, is for pretrial
purposes only. The Court will resolve the issues Surrounding multiple trials if and when it becomes
necessary to do so.

F. Conflicting Experrs

Finally, Timber Hill asserts that calculation of the damages of the derivatives traders will
require different experts than those experts relied upon by TIAA. Timber Hill, however, offers no
direct support for this assertion Even without support, this assertion pales in contrast to the
outright conflict presented in Basile where the common stock plaintiffs counsel stated that he
expected his damages expert to testify that the derivatives traders did not “have any cognizable
damages.” (Pl.’s Moving Br., Decl. of Andrew J. Entwistle, Ex. A at 78, ECF No. 322-3.) TIAA

has stated that, in its view, Timber Hill’s submission to the Court reveals that Timber Hill had a

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gain of $2,896,037 on a “$36 million total contract price for options.” (TIAA’s Opp’n at 19.)
Through the course of discovery, TIAA may find that the evidence suggests something different
and the derivatives traders who are part of the class may have damages Even if this is not the
case if at a later stage of the litigation Timber Hill’s assertion of the need for different damages
experts evolves into an obvious intra-class conflict, the Court will entertain a renewed motion for
relief from consolidation
V. Conclusion

For the reasons stated above the Court denies Timber Hill’s Motion for Relief from

Consolidation. The Court will enter an Order consistent with this Memorandum Opinion.

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.\/IICHAEL A. SHIPP
UNlTED STATES DISTRICT JUDGE

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